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PROB 22 DOCKET NUMBER (Tran. Court)
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` TRANSFER oF JURISDIL;_r-IQN :;;- 4 - ; -,z:-:z~;
` ` , ' - DOCK_ET NUMBER (Rec. Court)

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NAME AND ADDREss oF PROBArloNER/sUPERvIsED RELEASEE; DisrRlCr DlvlsroN
Southern District of Ohio Westem

Kim Alexander Miller

4000 Lomond Drive NAME OF SENTENC!NG JUDGE

Louisvj]]e KY 40216 The Honorable Herman J. Weber

United States District Judge

 

DATES OF SUPERVISED RELEASE: FROM TO
September Septernber
21, 2004 20, 2007

 

 

 

 

0FFENSE
Passing a Forged U.S. Savings Bond, 18:501(3)(2)

 

PAR'I` l - ORDER 'I_`RANSFERRING JURISDICTION

 

UNi_TED sTATEs DISTRICT COURT FOR THE "Southem Distn'et of Ohio"

 

_IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or Supervised
releasee named above be transferred with the records of the Court to the United Sta_tes District Court for the upon that
Court’s order of acceptance of jurisdiction This Ccurt hereby expressly consents that the period of probation or
supervised release may be changed by the District Court to which this transfer is made Without further inquiry of this
. Court.*

 

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*This sentence may be deleted in the discretion of the transferring Court. /

 

PART 2 - ORDER ACCEI’TING JURISDICTION

 

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IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted
and assumed by this Court from and after the entry of this order.

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